                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE


 ANDREW McKEVITZ,                               )
                                                )
        Plaintiff,                              )
                                                )
 v.                                             )               No. 3:18-cv-00132
                                                )
 SILVER CITY RESOURCES, INC.,                   )
                                                )
        Defendant.                              )



                                  MEMORANDUM AND ORDER



        Andrew McKevitz brings this action against Silver City Resources Inc., alleging violations

 of the Telephone Consumer Protection Act (TCPA) resulting from the receipt of “robocalls” (calls

 using an automatic telephone-dialing system (ATDS) without prior express consent) to

 McKevitz’s cellphone on seven occasions.

        Silver City moves for dismissal for failure to state a claim upon which relief can be granted

 and failure to establish standing, stating that plaintiff has not alleged sufficient facts nor an injury

 in fact and lacks standing to pursue his claim.

        Silver City’s motion will be denied on both grounds because McKevitz has stated sufficient

 facts upon which relief can be granted, and he has established the necessary injury in fact

 requirements to confer Article III standing.




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 I. Background

        On or about May 20, 2014, McKevitz received an unsolicited robocall from Silver City to

 his wireless telephone in Tennessee. McKevitz had previously registered his cellular telephone

 number on the National Do-Not-Call List. He received six (6) additional calls from Silver City.

 McKevitz did not provide consent to receive these calls. McKevitz alleges each robocall was made

 using equipment (ATDS) which had the capacity to store or produce telephone numbers using a

 random or sequential number generator; this allowed Silver City to make thousands of calls

 without human intervention and without prior consent. These calls were placed as part of a mass

 transmission of robocalls aimed at soliciting business from potential buyers.

        A defense to this action exists when a telemarketer establishes and implements, with due

 care, reasonable practices and procedures to effectively prevent telephone solicitations. McKevitz

 asserts Silver City does not have any of the proper practices or procedures in place. McKevitz

 further alleges Silver City ignored the available National Do-Not-Call list and proceeded to call

 him to sell him flawed postage stamps. Silver City relies upon the theory that calls placed to

 McKevitz’s cellular telephone were “business-to-business” telemarketing solicitations, as

 McKevitz’s cellular number is listed on the internet as the contact for the Montvale Airpark.

 McKevitz seeks both statutory damages and enhanced statutory damages for each violation.

 II. Standard of Review

        A motion to dismiss under Federal Rule of Civil Procedure 12(b)(6), requires the court to

 construe the complaint in the light most favorable to the plaintiff, accept all factual allegations as

 true, and determine whether there is any set of facts plaintiff could prove which would entitle him

 to relief. Meador v. Cabinet for Human Resources, 902 F.2d 474, 475 (6th Cir.) cert. denied, 498


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 U.S. 867 (1990). A motion to dismiss must be denied where the plaintiff “pleads factual content

 that allows the court to draw reasonable inference that the defendant is liable for the misconduct

 alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

        Silver City also seeks dismissal under Federal Rule of Civil Procedure 12(b)(1) for lack of

 jurisdiction based on the factual basis for the claim. Standing is essentially a question of “whether

 the litigant is entitled to have the court decide the merits of the dispute.” Warth v. Seldin, 422 U.S.

 490, 498 (1975). Under Article III, standing requires the following: plaintiff must have suffered

 an injury in fact—an invasion of a legally protected interest that is “concrete and particularized”,

 and the injury must be “fairly traceable to the challenged action of the defendant”. Lujan v. Defs.

 of Wildlife, 504 U.S. 555, 560 (1992). At the pleading stage, the plaintiff must clearly allege facts

 demonstrating each element required to establish standing. Spokeo, Inc. v. Robins, 136 S.Ct. 1540,

 1547 (2016).

 III. Analysis

 Statute of Limitations

        The statute of limitations for a TCPA claim is four years. 28 U.S.C § 1658(a); Solis v.

 CitiMortgage, Inc., 700 Fed.Appx. 965 (11th Cir. 2017). The complaint was originally filed on

 October 3, 2018. ECF. 11. Pg. 10. As such, the alleged violation of TCPA on May 20, 2014 is not

 within the statute of limitations and is not actionable. The remaining six alleged violations fall

 within the statute of limitations and can proceed.

 12(b)(6) Motion: Failure to State a Claim Upon Which Relief can be Granted

        To state a claim under TCPA, it must be established that: (1) a call was placed to a cell or

 wireless phone, (2) by the use of any automatic dialing system and/or leaving an artificial or pre-

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 recorded message, (3) without prior consent of the recipient. 47 U.S.C. § 227(b)(1)(A). An

 automatic dialing system (ATDS), as defined in TCPA, is a device with “the capacity to store or

 produce telephone numbers to be called, using a random or sequential number generator and to

 dial such numbers.” 47 U.S.C. § 227(a)(1).

     Courts have held that a bare allegation that a defendant used an ATDS can be enough to survive

 a motion to dismiss. Ready v. Synchrony Bank, No. 2:17-cv-00424-JDL, 2018 WL 1701355 (D.

 Me. Apr. 6, 2018) at *5. See, also: Hashw v. Dep’t Stores Nat’l Bank, 986 F.Supp.2d 1058, 1061

 (D. Minn. 2013) (plaintiff “pled that an ATDS was used to make the calls to his cellular phone. As

 the Court must accept that allegation as true at this juncture, nothing more is required to state a

 claim for relief under TCPA.”) The court further noted that although the plaintiff did not “detail

 whether a prerecorded message or human voice would respond when he answered . . . the number

 of calls and timing can imply defendant used an ATDS.” Id. at *6. (quoting: Hewitt v. Synchrony

 Bank, No.17-00874-CV-W-ODS, 2017 WL 6349051 (W.D.Mo. Dec. 12, 2017)). A plaintiff “need

 not plead specific technical details regarding the use of an ATDS. Rather, a plaintiff must at least

 describe, in layman’s terms, the facts surrounding the calls that make it plausible that the defendant

 was using an ATDS.” Id. (quoting: Snyder v. Perry, No. 14-CV-2090(CBA)(RER), 2015 WL

 1262591, at *8 (E.D.N.Y. Mar. 18, 2015)).

        Here, McKevitz states a plausible claim under TCPA because he has alleged a set of facts

 demonstrating he received recorded “robocalls” without his prior consent. McKevitz alleges 7

 specific dates on which he received telephone calls from Silver City. (see: ECF. 11. ¶ 11 and 12).

 He further alleges that these calls were recorded messages or “robocalls.” ECF. 13. ¶ 10. In

 accordance with the caselaw stated above, McKevitz can survive a motion to dismiss simply by

 alleging use of an ATDS. Even assuming, arguendo, that more is required than the mere allegation

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 of use of an ATDS, the frequency in which Silver City contacted McKevitz (7 times) can imply

 the use of an ATDS. Given that McKevitz not only alleged that the calls he received were pre-

 recorded, but he has also detailed the frequency by which he received these calls, when taken as

 true, these allegations plausibly give rise to Silver City’s use of an ATDS. Finally, McKevitz states

 very clearly that at no time did he provide Silver City with any form of consent to receive these

 calls. Accordingly, McKevitz has stated a sufficient factual basis upon which relief can be granted

 under the TCPA.

 12(b)(1) Motion: Article III Standing

        Silver City argues that McKevitz lacks standing to bring a claim, citing a district court

 decision, Romero v. Dept. Stores N.A., 199 F.Supp.2d 1256 (S.D.Cal. 2016). However, the Ninth

 Circuit overruled the district court in Romero finding that, “the district court erred in concluding

 that Romero lacked standing under Article III . . . a violation of the TCPA is a concrete de facto

 injury.” Romero v. Department Stores National Bank, 725 Fed.Appx. 537, at 539 (9th Cir. 2018)

 (quoting: Van Patten v. Vertical Fitness Group, LLC, 847 F.3d 1037, at 1043 (9th Cir. 2017)).

 Courts within the Sixth Circuit have closely adhered to this persuasive authority in finding that

 concrete harms include: depleting minutes, depleting cell phone battery and cost of electricity to

 recharge, invasion of privacy, intrusion upon capacity of cell phone, wasting time, and causing

 risk of personal injury due to distraction. Ammons v. Ally Financial, Inc., 326 F.Supp.3d 578, at

 589 (quoting: Mey v. Venture Data, LLC, 245 F.Supp.3d 771, at 777 (N.D.W.Va.2017)). Courts

 have further added that harms are not limited to answered calls, and clearly contemplate reading

 texts, listening to voicemails, clearing call logs, recharging depleted power used by voicemails and

 missed calls, and the annoyance and intrusion of privacy associated even with missed calls and

 messages. Id.

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        Moreover, courts have consistently held that merely the receipt of phone calls in violation

 of TCPA, is a concrete injury sufficient to constitute standing. See, e.g., Juarez v. Citibank, NA,

 2016 U.S. Dist. Lexis 118483, at *8, 2016 WL 4547914 (N.D. Cal. Sept. 1, 2016) (“Even a single

 phone call can cause lost time, annoyance, and frustration”); Krakauer v. Dish Network, LLC, 168

 F.Supp.3d 843, 845 (M.D.N.C. 2016) (“[telemarketing calls in violations of TCPA] form concrete

 injuries because unwanted telemarketing calls are disruptive and annoying invasion of privacy.”);

 A.D. v. Credit One Bank, N.A., 2016 U.S. Dist. Lexis 110393, at *17—18, 2016 WL 4417077

 (N.D. I11. Aug. 19, 2016) (TCPA directly forbids activities that by their nature infringe the

 privacy-related interests that Congress has sought to protect, and therefore a violation of this

 substantive right is sufficient to constitute a concrete, de facto injury.”); Gibbs v. SolarCity Corp.,

 239 F.Supp.3d 391, 395—6 (D.Mass.2017) (“unsolicited telemarketing phone calls by their nature,

 invade the privacy and disturb the solitude of their recipients.”); Abante Rooter & Plumbing, Inc.

 v. Pivotal Payments Inc., No. 16-cv-05486-JCS, 2017 WL 733123, at *6 (N.D. Cal. Feb. 25, 4017)

 (“The vast majority of courts have concluded that the invasion of privacy, annoyance and wasted

 time associated with robocalls is sufficient to demonstrate concrete injury.”).

        It does not matter whether the call was answered to allege a violation of TCPA. “The

 intended recipient need not have answered the calls. The act of placing the calls triggers the

 statute.” Yount v. Midland Funding, LLC, No. 2:14-CV-108, 2016 WL 554851, at *8 (E.D. Tenn.

 Feb. 10. 2016) (emphasis added); See also, Bratcher v. Navient Solutions Inc., 249 F.Supp.3d

 1283, 1286 (M.D. Fla. 2017) (“It is the mere act of placing the call that triggers the statute.”);

 Tillman v. Ally Fin. Inc., No. 2:16-cv-313-FTM-99CM, 2017 WL 1957014, at *7 (M.D. Fla. May

 11, 2017) (finding that the “transmission of the unwanted call would notify plaintiff that Ally was

 attempting to contact him, which is an intrusion upon seclusion that is an injury intended to be


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 prevented by the statute.”); King v. Time Warner Cable, 113 F.Supp.3d 718, 725 (S.D.N.Y. 2015)

 (holding that defendant “violated the statute each time it placed a call using ATDS without consent,

 regardless of whether the call was answered by a person, a machine, or not at all.”). A violation of

 TCPA occurs once the “steps necessary to physically place the telephone call” are completed.

 Bennett v. GoDaddy.com LLC, No. CV-16-03908-PHX-ROS, 2019 WL 1552911 (D. Ariz. Apr. 8

 2019). It does not depend on the contents of the call; in fact, it does not even require the call be

 answered. Id.

        Here, McKevitz has pled sufficient facts to establish Article III standing because he has

 alleged that multiple unsolicited telemarketing calls were placed to his cellphone using an ATDS.

 ECF. 11. ¶ 12, 20. Even if McKevitz had only alleged receiving one phone call from Silver City

 using an ATDS in violation of the TCPA, it would still be enough to meet the injury in fact

 requirement. Although McKevitz has not alleged an injury such as depleted minutes or a depleted

 battery, he has alleged facts concerning the nature of the calls (unsolicited telemarketing calls),

 which reasonably falls within the category of contact the TCPA intended to prevent. As one

 lawmaker stated, “Computerized calls are the scourge of modern civilization. They wake us up in

 the morning; they interrupt our dinner at night; they force the sick and elderly out of bed; they

 hound us until we want to rip the telephone right out of the wall.” Mims v. Arrow Fin. Servs., LLC,

 565 U.S. at 384, 372. (2012) (quoting 137 Cong. Rec. 30,821—22 (1991)). McKevitz has pled a

 sufficient basis to establish standing under Article III.

 Business-to-Business Exception

        Silver City contends that even if McKevitz has pled sufficient facts to state a claim and

 establish standing that its contact falls under the business-to-business exception of the TCPA.

 Silver City asserts that the cellphone number contacted was listed as the primary contact for an

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 airport-related business. ECF. 12. Pg. 5. McKevitz asserts that in placing his cellphone number on

 the National-Do-Not-Call-List, he has the privacy right not to be solicited without consent.

        Courts have held that under the proper reading of 47 U.S.C. § 227(b)(1)(B), “use of a

 cellular telephone line for business purposes has no impact on the applicability of the TCPA.”

 Bennett, 2019 WL 1552911, at *10. The FCC clarified that the language “residential subscriber”

 is meant to “presume wireless subscribers who ask to be put on the national-do-not-call list to be

 residential subscribers.” Rules and Regulations Implementing the Telephone Consumer Protection

 Act (TCPA) of 1991, 68 FR 44144-01. Telemarketing calls to cellular telephone lines are prohibited

 in the absence of written consent, even if the cellular telephone lines were used for business. Id. at

 *11. Silver City has not alleged any basis as to why this interpretation should not be applied in the

 present case.

 IV. Conclusion

        This court finds that McKevitz has plead sufficient facts to plausibly state a claim upon

 which relief can be granted and to establish standing under Article III. Accordingly, the court

 DENIES Silver City’s motionn to dismiss on both grounds therefore stated.



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                                        CHIEF UNITED STATES
                                        CHIEF             STATTES DISTRICT
                                                                  DISTRIICT JUDGE




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